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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


CARL HOFFER,
RONALD MCPHERSON, and
ROLAND MOLINA, individually
and on behalf of a class of persons
similarly situated,

      Plaintiff,

v.                                            Case No. 4:17-cv-00214-MW-CAS


JULIE L. JONES, in her official
capacity as Secretary of the
Florida Department of Corrections,

     Defendants.
__________________________/

                   SECRETARY JONES’ MOTION TO DISMISS

      Defendant Jones, as Secretary of the Florida Department of Corrections

(“FDOC”), through undersigned counsel and pursuant to Rule 12(b)(6), Federal Rules

of Civil Procedure, moves this Court to dismiss counts II and III of the Verified Class

Action Complaint for Injunctive Relief. [Doc. 1] In furtherance thereof, Secretary

Jones states the following:

      Three inmates incarcerated in the FDOC – Carl Hoffer (DC#111369), Ronald

McPherson (DC#111745), and Roland Molina (DC#500942) – have brought a




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complaint claiming the FDOC’s failure to provide them the most cutting edge Hepatitis

C drugs, known as direct acting antiviral (“DAA”) drugs, is a violation of the Eighth

Amendment’s prohibition of cruel and unusual punishment. 1 [Doc. 1 at 37-39] These

inmates further claim that because they are not receiving the latest and most expensive

treatment, they are being discriminated against based on their disability, which is

having Hepatitis C (“HCV”). [Doc. 1 at 39-43]

                           MEMORANDUM OF LAW

        Plaintiffs do not state claim under the Americans with Disabilities Act or
        under the Rehabilitation Act as their claims are based on a dispute about
        their course of treatment

        Plaintiffs’ Complaint suffers from a fundamental defect – alleged improper

medical treatment decisions cannot serve as the basis for claims under the Americans

with Disabilities Act (“ADA”). 2 Numerous circuit courts have arrived at this

conclusion, including the Eleventh Circuit Court of Appeals. Schiavo ex rel. Schindler

v. Schiavo, 403 F.3d 1289, 1294 (11th Cir. 2005) (ADA was never intended to apply

to decisions involving medical treatment); Bryant v. Madigan, 84 F.3d 246, 249 (7th

Cir. 1996) (concluding that the ADA “would not be violated by a prison’s simply

failing to attend to the medical needs of its disabled prisoners”); Shelton v. Arkansas



   1“
     Excessive bail shall not be required, nor excessive fines imposed, nor cruel
and unusual punishments inflicted.” U.S. CONST. amend. VIII.
   2
     Cash v. Smith, 231 F.3d 1301, 1305 n. 2 (11th Cir. 2000) (“Cases decided
under the Rehabilitation Act are precedent for cases under the ADA, and vice-


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Dep’t of Human Servs., 677 F.3d 837, 843 (8th Cir. 2012) (“a claim based upon

improper medical treatment decision[s] may not be brought pursuant to . . . the ADA”);

Burger v. Bloomberg, 418 F.3d 882 (8th Cir. 2005) (ADA claim may not be based on

medical treatment decisions); Fitzgerald v. Corr. Corp. of Am., 403 F.3d 1134, 1144

(10th Cir. 2005) (“purely medical decisions . . . do not ordinarily fall within the scope

of the ADA or the Rehabilitation Act”).

      Paragraph 158 of the Plaintiff’s complaint is the crux of the ADA/RA counts:

      By withholding medical treatment from those with HCV, but not
      withholding medical treatment from those with other disabilities or those
      who are not disabled, Defendant FDC excludes Plaintiffs and the Plaintiff
      Class from participation in, and denies them the benefits of FDC services,
      programs, and activities (such as medical services), by reason of their
      disability. 42 U.S.C. § 12132; 28 C.F.R. § 35.130(a).

[Doc. 1 at 40, ¶ 158] However, it is clear treatment is not being withheld from the

plaintiffs. The plaintiffs admit in their complaint treatment is being given for their

HCV. Mr. Hoffer’s symptoms are being treated through antibiotics, diet, and

paracentesis. [Doc. 1 at 25-26] Mr. McPherson is enrolled in a chronic illness clinic

and is being monitored by a doctor. [Doc. 1 at 28-30] Mr. Molina is being monitored

by medical staff and his symptoms are being treated with Prednisone. [Doc. 1 at 32-

34] Thus, the true issue is what level of medical treatment 3 is required under the



versa.”).
   3
     It is axiomatic that the best and most cutting edge treatment is not required for
prisoners. Grubbs v. Bailey, 552 F.Supp 1052, 1123 (M.D.Tenn. 1982) (stating the


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Constitution, not whether plaintiffs are being discriminated against by the care being

provided by the FDOC. Plaintiffs’ attempt to impose a standard of care on the

FDOC’s medical services through an ADA/RA cause of action [Doc. 1 at 11] is

improper as suggested by the Supreme Court. Olmstead v. L.C. ex rel. Zimring, 527

U.S. 581, 603 n. 14 (1999) (“We do not in this opinion hold that the ADA imposes on

the States a standard of care for whatever medical services they render, or that the

ADA requires States to provide a certain level of benefits to individuals with

disabilities.”). 4

       In any event, the reason why medical treatment claims are insufficient under the

Rehabilitation Act (“RA”) is because allegations of discriminatory medical treatment

do not fit into the four-element framework required by section 504. Schiavo ex rel.

Schindler v. Schiavo, 358 F.Supp.2d 1161, 1166 (M.D.Fla. 2005) (finding that absent

Schiavo’s disability, she would not qualify for the treatment she is being denied thus



Eighth Amendment does not require the medical care provided be the very best
available) (citing Estelle v. Gamble, 429 U.S. 97, 106 (1976)). In fact, in Black v.
Alabama Dept. of Corrections, 578 Fed. App’x 794 (11th Cir. 2014), the Eleventh
Circuit, albeit an unpublished opinion, has approved the type of treatment (monitoring
and treatment of symptoms) the plaintiffs are receiving. See also Melendez v. Florida
Department of Corrections, Case No. 3:15cv450-RV-CJK, 2016 WL 5539781
(N.D.Fla. Aug. 30, 2016).
    4
      Indeed, even the Ninth Circuit Court of Appeals has recognized that it is improper
to constitutionalize the standards of professional associations. Gary H. v. Hegstrom,
831 F.2d 1430, 1433 (9th Cir. 1987) (“[I]t was error for the court to constitutionalize
the standards of the American Medical Association and the American Public Health
Association”); Hoptowit v. Ray, 682 F.2d 1237, 1253 (9th Cir. 1982); see also Madrid


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she is not “otherwise qualified”); Iafornaro v. Mississippi, No. 6:08-CV-ORL-19, 2008

WL 2856649, at *2 (M.D.Fla. July 22, 2008) (“The Rehabilitation Act, however, does

not apply to decisions involving medical treatment” because allegations of

discriminatory medical treatment do not fit into the four-element framework required

by section 504) (citing Grzan v. Charter Hosp. of Nw. Indiana, 104 F.3d 116, 121, 123

(7th Cir. 1997) (affirming district court’s dismissal under Fed.R.Civ.P. 12(b)(6) of

plaintiff’s section 504 claim because “section 504 [which ‘is materially identical to the

ADA’] does not provide a federal malpractice tort remedy” and allegations of

discriminatory medical treatment do not fit into the four-element framework required

by section 504)). Here, the three inmate plaintiffs are not “otherwise qualified”

because without the “disability” of HCV, they would not qualify for the specific

medical treatment they are demanding: DAA drugs. The plaintiffs’ situation is

different from an inmate confined to wheelchair requesting access to the law library or

the recreational yard. Such a prisoner would still be qualified to go the law library or

recreational yard even if not confined to a wheelchair. Thus, Congress’ statutory

language did not intend to reach matters of medical treatment. Schiavo, 403 F.3d at

1294; Johnson v. Thompson, 971 F.2d 1487, 1493-94 (10th Cir. 1992) (stating

“[o]rdinarily, however, if a person were not so handicapped, he or she would not need

the medical treatment and thus would not ‘otherwise qualify’ for the treatment”);


v. Gomez, 889 F.Supp. 1146, 1256 (N.D.Cal. 1995).


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United States v. Univ. Hosp. of State Univ. of New York at Stony Brook, 729 F.2d

144, 159 (2d Cir. 1984) (“The post-enactment legislative history also indicates both

that congress was primarily concerned with affording the handicapped access to

federally-funded programs and activities, and that congress never envisioned that HEW

(or HHS) would attempt to apply section 504 to treatment decisions.”); American

Academy of Pediatrics v. Heckler, 561 F.Supp. 395, 401-02 (D.D.C. 1983)

(determining that no congressional committee or member of the House or Senate ever

suggested that section 504 would be used to monitor medical treatment or establish

standards for preserving a particular quality of life and suggesting that section 504 was

never intended by Congress to be applied blindly and without any consideration of the

burdens and intrusions that might result).

      Thus, in accordance with standing Eleventh Circuit case law and clear

congressional intent, the plaintiffs’ ADA and RA counts must be dismissed as

plaintiffs merely dispute their level of treatment (i.e., what level of treatment is

required to satisfy the minimally adequate standard of the Eighth Amendment) and are

not claiming a complete denial of access to FDOC medical services.

                                   CONCLUSION

      For the reasons stated herein, Secretary Jones requests the Court dismiss Count

II and Count III of the complaint [Doc. 1].




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                                      Respectfully submitted,

                                      PAMELA JO BONDI
                                      ATTORNEY GENERAL

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                         CERTIFICATE OF SERVICE

      I CERTIFY that a true and correct copy of the foregoing has been furnished via

CM/ECF to all counsel of record on this 30th day of May, 2017.

                                             s/ Lance Eric Neff
                                             LANCE ERIC NEFF



           CERTIFICATION OF MEMORANDUM WORD COUNT

      Undersigned counsel, pursuant to local rule 7.1(F), certifies the preceding

memorandum in support of the instant motion contains 984 words.

                                             s/ Lance Eric Neff
                                             LANCE ERIC NEFF




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